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                                         May 4,     2012

Hon. Jose L. Linares, USDJ
United States District Court
District of New Jersey
1 John F. Gerry Plaza
Camden NJ 08101


       RE:       UNITED STATES V. JUAN DONE, et.              al.
                 DOCKET NO.: 09-cr-00601 (JLL)
                 REQUEST FOR ADJOURNMENT

       VIA: ELECTRONIC FILING


Honorable Judge Linares:

       Please accept this letter in lieu of a more                        formal motion          &

brief.       I   humbly request         that   if   anything is      deficient,        that we

be given the opportunity to correct such discrepancy.

       My wife has been             in a battle with cancer           for just       over     six

years,     she    was   recently diagnosed with             two breast       tumors,      which
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will    be    operated    on    May   9,   2012.      We   have    six   children   and    I

will be required to be home through the end of the week.

        I received via electronic notification a sentencing date of

5/11.    I humbly ask and pray that the court allow me until June 1

2012     to   appear     for   this    sentencing       and   that   I   be   allowed     to

submit my sentencing memorandum with objection by 5.9/2012.

Respectfully submitted,




Dated:    5/4/2012                           // Gerald M. Saluti              //
                                           Gerald M. Saluti, Esq.



Cc:    Juan Enrique Done


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